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lN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRIC'I` OF OHIO
WESTERN DIVISION AT DAYTON
MICHA.EL PENNESSI., et al.,

Plaintiff,
vs Case No. 3:17CV286

HANGER PROSTHETICS AND
ORTHOTICS INC.

Defendant. District .]udge Walter H. Rice

 

PRELIMINARY PRETRIAL C()NFERENCE ORDER

 

Tlie captioned cause came on to be heard upon preliminary pretrial conference on lO/Z/ZOI 7.

PERTINENT SETTINGS
l. Required disclosures under Fed. R. Civ. P. 26(a)(l): 10/6/2017

2. Settlement demand by Plaintiff` upon Def`endant to be
made by: done; response f 1/12/201 8

3. Written notification to Court re: contingent consent or
Refusal to Magistrate Jud,¢ze for trial purposes only:* close of business 10/26/2017

 

4. Discovery plan due:** _______

5. Cut-off date for filing of motions directed to
pleadings (including motions to dismiss filed
pursuant to Fed. R. Civ. P. 12): 10/30/2017

6. Cut-of`f`date f`or filing of`motion to amend and
to add parties: 10/30/2017

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lf applicable, not later than the date specified, the

Plaintiff will furnish to the Defendant a medical package,

consisting ofreports, medical bills, list of special

damages. certification of wage loss, hospital bills,

hospital records, other bills and expenses, etc.

Plaintiff’s counsel is under a continuing duty to

update or supplement the medical package as

further information becomes available -------

ldentification of lay witnesses with synopsis of their
testimony to be filed by: 4/2/2018

The dates to reveal the identity of expert witnesses
and to provide a copy of the expert`s report (Rule 26(a)
(2)(]3)) or the subject matter and summary of facts and
opinions for experts not required to prepare reports

 

 

 

 

(Rule 26(1)(2)(C)) are:
Plaintiff(s) to Defendant(s) 3/l/2()l 8
Defendant(s) to Plaintiff(s) 4/2/2018
Rebuttal Expert(s) Pltf~ 5/1/2018' Df`t - 4/2/2018
Request for admissions: 5/4/2018
Cut-off DEADLINE for disc-overy: 6/5/2018

 

Status conference following discovery deadline

to explore ADR options: Tuesday, 6/l2/20] 8 at 5:00 pm
(By telephone with Judge Rice who will manage

case from this point forward to resolution or trial

unless otherwise ordered.)

. Cut-off date for filing of motions for summary

judgment 7/5/2018

Cut-off date for all other pretrial motions, i.e., motions
in limine, motions for a view, etc.: Tuesday, 10/9/2018

 

Joint Final Pretrial Order by parties to be filed no
later than: Tuesday 10/16/2018

Trial exhibits to be exchanged by: Friday, 10/19/2018

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Final Pretrial Conference to be held:

In Chambers on:

By Telephone Conference Call on:

Deadline for submitting proposed jury instructions
(To include verdict forms and interrogatories)

to the Court in both hard copy and diskette form
and original copies of depositions, with designations,
that counsel intend to use at trial:

Deadline for submitting counter-designations:
Tria] on the merits,

before the Court, beginning:

to a jury, beginning:

Law Clerk assigned to case:

Magistrate Judge assigned to case:

 

Tuesday. 10/23/2018 at 5:00 pm

At least 10 days prior to trial

At least 10 days prior to trial

 

l 1/5/201 8
Lisa Woodward

Sharon L. Ovington

*ln order to guarantee the availability of a judicial officer to try your case on the date set

in this entry, it is the request of the Court that each counsel speak with his/her client as to the

possibility of consenting to a referral to the Magistrate Judge for pu;poses of trial only. In this

fashion, the undersigned will handle all aspects of this litigation subsequent to the discovery cut-

off including the trial (if he is available). If the undersigned is otherwise committed in trial on

the date set for trial herein, the Magistrate Judge who has managed the case through the

discovery cut-off will be able to try this case. Absent a referral to the Magistrate Judge (and it is

always the right of the party to so refuse), the undersigned will try this case on the date set, or

upon a very short-term trailing docket thereafter, even if it means trying more than one case at a

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given time. Please notify the Court in writing as to your client’s wishes in this regard not later

than 20 days from the date of the preliminary pretrial conferencel

**The discovery plan, which is to be filed 0_111X if a Rule 26(1) report has not been filed
by the Prelimjnary Pretrial conference, is that contemplated in Fed. R. Civ. P. 16 and 26(f).
The joint discovery plan must identify the issues and sub-issues (factual and legal) for trial and
for discovery purposes, establish a plan and schedule for discovery (how and from Whom
discovery is to be obtained, the discovery vehicle to be used for the obtaining of said discovery
(depositions, interrogatories, etc.), a sequence or timetable for the obtaining of that discovery, set
limitations upon discovery, if any; and determine such other matters, including the allocation of
expenses, as are necessary for the proper management of discovery in the action.) A discovery
order may be altered or amended, upon leave of Court being first obtained, whenever justice so

requires

THE FAILURE TO FILE A DISCOVERY PLAN WITHIN THE DATE SET
FORTH ABOVE WILL MEAN THE VACATION OF THE TRIAL DATE PREVIOUSLY
SET, AS A SANCTION UPON PLAINTIFF, AND, SHOULD THIS COURT
DETERMINE THAT THE FAILURE TO FILE THE DISCOVERY PLAN IS THE
FAULT OF THE DEFENDANT, THE IMPOSITION OF SANCTIONS UPON THAT

PARTY AND HIS ATTORNEY.

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ANY VIOLATION OF THE DISCOVERY PLAN RENDERS THE OFFENDING
PARTY SUBJECT TO APPROPRIATE SANCTION UNDER FEDERAL RULES OF
CIVIL PROCEDURE.

There will be no continuation of discovery beyond the discovery cut-off date, absent
express approval of the Court or the l\/lagistrate Judge obtained upon showing of good cause.

The discovery "cut-off" deadline means that A_LL discovery must be concluded, as
opposed to simply requested, by the discovery "cut-off" date. Purely as a hypothetical example,
request for the production of documents, with a 28-day response time, must be served upon the
opposing party in Sufficient time to allow said party to respond prior to the discovery "cut-off“
dat€.

Except for good cause shown, no extension of the discovery "cut-off" deadline will be
allowed if such extension would impact adversely on the date set for the filing of motions for
summary judgment or the trial date set herein.

In order to make certain that progress towards disposition of the captioned cause does not
become "gridlocked" by discovery disputes, this Court would offer an invitation to counsel of
record, should such a discovery dispute arise, prior to the discovery cut-off deadline, and,
further, should the parties have exhausted all extra-judicial means of resolving same, to call the
l\/Iagistrate’s office, in order to advise the Magistrate’s Courtroom Deputy of the need for a brief
discovery conference The Magistrate will then convene a brief discovery conference in the
hope of resolving the impasse without the necessity of filing motions to compel, motions for

protective order, etc.

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**Pursuant to 28 U.S.C. §636(b), this case is hereby referred to the assigned United
States Magistrate Judge from the date of this Order gl_tg the discovery cut-off date set
herein on any extension granted by the Magistrate Judge or District Judge. At which time
Judge Rice will assume management of said case through resolution or trial, unless
otherwise ordered. The Magistrate Judge to whom the case is referred is authorized to
perform any and all functions authorized for full-time United States Magistrate Judges by
statute, including, Without limiting the generality of the foregoing, all motions to remand
removed cases to state court, all motions to dismiss or for judgment on the pleadings under
Fed. R. Civ. P. 12, and all discovery-related motions. In each such case, the Magistrate

Judge shall proceed in accordance with Fed. R. Civ. P. 72.

MVQA

wALrER H. RICE
UNITED srArEs DISTRICT JUDGE

lT lS SO ORDERED.

